Case 6:22-cv-00885-RRS-CBW Document 145 Filed 06/16/22 Page 1 of 7 PageID #: 4059



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA
                               LAFAYETTE DIVISION

   THE STATE OF ARIZONA,
   By and through its Attorney General, Mark
   Brnovich, et al.,

                                     PLAINTIFFS,

   v.

   CENTERS FOR DISEASE CONTROL &                   CIVIL ACTION NO. 6:22-cv-00885-RRS-CBW
   PREVENTION; et al.,

                                   DEFENDANTS.


                PLAINTIFF STATES’ PARTIAL OPPOSITION TO
         DEFENDANTS’ MOTION TO STAY DISTRICT COURT PROCEEDINGS




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Case 6:22-cv-00885-RRS-CBW Document 145 Filed 06/16/22 Page 2 of 7 PageID #: 4060



                                             INTRODUCTION

          The Plaintiff States (“States”) partially oppose Defendants’ motion to stay district court

  proceedings or, in the alternative, for an extension of time to respond to the Second Amended

  Complaint (Doc. 114-1). The States did not oppose the requested extension, which this Court has

  already granted. See Doc. 117. Defendants also do not oppose delaying briefing on cross-motions for

  summary judgment while Defendants’ preliminary injunction appeal is pending.

          The States do oppose a broader stay, however. Such stays of district court proceedings are

  disfavored as they “unnecessarily delay the litigation and waste judicial resources.” Caribbean Marine

  Servs. Co., Inc. v. Baldrige, 844 F.2d 668, 673 (9th Cir. 1988). Indeed, “To the extent that a desire to get

  an early glimpse of [the appellate courts’] view of the merits of the underlying legal issues in this

  litigation motivated this tactic”—i.e., which is explicitly Defendants’ stated rationale here1—that

  approach is “both misconceived and wasteful.” Id. “Thus, rather than delay all proceedings during

  the pendency of an appeal from an order granting a preliminary injunction, the parties should have

  sought a rapid resolution of the legal issues presented in this case.” Id.

          Plaintiffs respectfully submit that the time in which Defendants’ appeal is pending can

  properly be put to good use in two ways. First, if Defendants intend to move to dismiss the Second

  Amended Complaint, they should be required to do so now. Motion practice about the adequacy of

  the States’ pleadings after this Court has already addressed many of the issues presented in its May 20

  preliminary injunction order, and the administrative record has already been produced, would be

  needlessly wasteful. But if Defendants intend to take that course, it should not delay ultimate

  resolution of this case. Instead, any disputes about the adequacy of the States’ pleadings, and resulting

  opportunity to cure any identified deficiencies by amendment, should occur while Defendants’ appeal


  1
    See Mem. at 4 (arguing that a “stay pending the resolution of Defendants’ Fifth Circuit appeal, which
  may include certain threshold issues, would serve the interests of judicial economy and efficiency
  because the Fifth Circuit’s opinion is likely to bear on the resolution of this case.” (emphasis added)).
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Case 6:22-cv-00885-RRS-CBW Document 145 Filed 06/16/22 Page 3 of 7 PageID #: 4061



  is pending. A contrary approach of permitting Defendants to delay final resolution by successive

  motion practice—i.e., a motion for a stay, followed by a motion to dismiss, and then finally motions

  for summary judgment (to the extent those motions are not preceded by a motion to stay summary

  judgment briefing pending resolution of the motion to dismiss)—would needlessly prolong this case.

         Second, any requests for discovery, and then any resulting discovery, should be

  resolved/conducted during this time to avoid delay of summary judgment briefing. The States have

  specifically argued that the Termination Order is pretextual, see, e.g., Doc. 11-2 at 23-24, 39-40, and

  should be permitted to seek discovery by motion during the pendency of Defendants’ appeal.

  Similarly, to the extent that Defendants intend to continue to challenge the States’ standing in their

  motion for summary judgment notwithstanding this Court’s May 20 order, the States should be

  permitted to seek jurisdictional discovery by motion to develop the factual record.

          Resolution of such motions and taking of appropriate targeted discovery would be an efficient

  use of the time in which Defendants’ appeal is pending, and would permit expeditious final resolution

  of this case by cross-motions for summary judgment on a fully developed record after that appeal is

  resolved. By contrast, Defendants’ suggestion that this case should be put in cryogenic deep-freeze

  while their appeal is pending is “both misconceived and wasteful.” Caribbean Marine Servs., 844 F.2d at

  673.

                                            CONCLUSION

         For the foregoing reasons, this Court should deny in part Defendants’ request for a stay by,

  (1) requiring Defendants to file an answer or motion to dismiss and (2) permitting the States to seek

  discovery during that time and, if such requests are granted, to conduct such discovery.




                                                    2
Case 6:22-cv-00885-RRS-CBW Document 145 Filed 06/16/22 Page 4 of 7 PageID #: 4062



  Dated: June 16, 2022                           Respectfully submitted,

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                                             3
Case 6:22-cv-00885-RRS-CBW Document 145 Filed 06/16/22 Page 5 of 7 PageID #: 4063



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                                              4
Case 6:22-cv-00885-RRS-CBW Document 145 Filed 06/16/22 Page 6 of 7 PageID #: 4064



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                                              5
Case 6:22-cv-00885-RRS-CBW Document 145 Filed 06/16/22 Page 7 of 7 PageID #: 4065



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                                                   6
